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 9   Counsel for Plaintiff
10   Rothschild Broadcast Distribution Systems LLC

11
                                 UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA
                                    SAN FRANCISCO DIVISION
13
14   ROTHSCHILD BROADCAST                                  Case No. 3:19-cv-01913-SK
     DISTRIBUTION SYSTEMS LLC,
15                                                         NOTICE OF DISMISSAL WITHOUT
16                         Plaintiff,                      PREJUDICE

17          v.                                             DEMAND FOR JURY TRIAL
18   NEST LABS, INC.,                                      Judge – Sallie Kim
19                         Defendant.

20          Plaintiff Rothschild Broadcast Distribution Systems LLC hereby files this Notice of
21
     Voluntary Dismissal      Without Prejudice pursuant to Federal Rule of Civil Procedure
22
     41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff
23
     without order of court by filing a notice of dismissal at any time before service by the adverse
24
25   party of an answer. Accordingly, Plaintiff        Rothschild Broadcast Distribution Systems LLC

26   voluntarily dismisses this action against Defendant Nest Labs, Inc. without prejudice pursuant to

27   Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.
28
                                                           NOTICE OF VOLINTARY DISMISSAL WITHOUT PREJUDICE
                                                                                      Case No. 3:19-CV-01913-SK
            Case 3:19-cv-01913-SK Document 13 Filed 05/01/19 Page 2 of 3




 1          .

 2   Dated: May 1, 2019                                 Respectfully submitted,
 3
                                                        /s/ Steven A. Nielsen
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12                                                      Attorneys for Plaintiff
                                                        Rothschild Broadcast Distribution Systems
13                                                      LLC
14
15                                   CERTIFICATE OF SERVICE
16
            I hereby certify that counsel of record who are deemed to have consented to electronic
17
     service are being served on May 1, 2019, with a copy of this email via the Court’s CM/ECF system
18
     per Local Rule CV-5-1(h)(1).
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20
                                                        / s/ Steven A. Nielsen
21                                                      Steven A. Nielsen

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28                                                  2
                                               NOTICE OF PENDENCY OF OTHER ACTIONS INVOLVING SAME PATENT
                                                                                 Case No. 3:18-CV-07154-EMC
     Case 3:19-cv-01913-SK Document 13 Filed 05/01/19 Page 3 of 3




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                                                            CERTIFICATE OF SERVICE
                                                       Case No. 3:18-CV-07154-EMC
